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Exhibit B — Bigelow Declaration

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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al., Case No. 08-13141 (KJC)
Debtors. Jointly Administered

DECLARATION OF CHANDLER BIGELOW III, SENIOR VICE PRESIDENT AND
CHIEF FINANCIAL OFFICER OF TRIBUNE COMPANY, IN SUPPORT OF (1)
NOTICE AND PROCEDURES APPROVAL MOTION, (ID) TRIBUNE TRANSACTION
APPROVAL MOTION, AND (IID) CUBS LLC TRANSACTION APPROVAL MOTION

CHANDLER BIGELOW III declares as follows:
1. I am Senior Vice President and Chief Financial Officer of Tribune
Company (“Tribune” or the “Company”), a corporation organized under the laws of Delaware

and one of the debtors and debtors in possession in the above-captioned chapter 11 cases

' The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, are: Tribune Company
(0355); 435 Production Company (8865); 5800 Sunset Productions Inc. (5510); Baltimore Newspaper Networks, Inc. (8258); California
Community News Corporation (5306); Candle Holdings Corporation (5626), Channel 20, Inc. (7399), Channel 39, Inc. (5256); Channel 40, Inc.
(3844); Chicago Avenue Construction Company (8634); Chicago River Production Company (5434), Chicago Tribune Company (3437);
Chicago Tribune Newspapers, Inc. (0439); Chicago Tribune Press Service, Inc. (3167); ChicagoLand Microwave Licensee, Inc. (1579);
Chicagoland Publishing Company (3237); Chicagoland Television News, Inc. (1352); Courant Specialty Products, Inc. (9221); Direct Mail
Associates, Inc. (6121); Distribution Systems of America, Inc. (3811); Eagle New Media Investments, LLC (6661); Eagle Publishing
Investments, LLC (6327); forsalebyowner.com corp. (0219); ForSaleByOwner.com Referral Services, LLC (9205); Fortify Holdings Corporation
(5628); Forum Publishing Group, Inc. (2940); Gold Coast Publications, Inc. (5505); GreenCo, Inc. (7416); Heart & Crown Advertising, Inc.
(9808); Homeowners Realty, Inc. (1507); Homestead Publishing Co. (4903), Hoy, LLC (8033); Hoy Publications, LLC (2352); InsertCo, Inc.
(2663); Internet Foreclosure Service, Inc. (6550); JuliusAir Company, LLC (9479); JuliusAir Company II, LLC; KIAH Inc. (4014); KPLR, Inc.
(7943); KSWB Inc. (7035); KTLA Inc, (3404); KWGN Inc. (5347); Los Angeles Times Communications LLC (1324); Los Angeles Times
International, Ltd. (6079); Los Angeles Times Newspapers, Inc. (0416); Magic T Music Publishing Company (6522); NBBF, LLC (0893);
Neocomm, Inc. (7208); New Mass. Media, Inc, (9553); New River Center Maintenance Association, Inc. (5621); Newscom Services, Inc, (4817),
Newspaper Readers Agency, Inc. (7335); North Michigan Production Company (5466); North Orange Avenue Properties, Inc. (4056), Oak
Brook Productions, Inc. (2598); Orlando Sentinel Communications Company (3775), Patuxent Publishing Company (4223); Publishers Forest
Products Co. of Washington (4750); Sentinel Communications News Ventures, Inc. (2027); Shepard's Inc. (7931); Signs of Distinction, Inc.
(3603); Southern Connecticut Newspapers, Inc. (1455); Star Community Publishing Group, LLC (5612); Stemweb, Inc. (4276), Sun-Sentinel
Company (2684); The Baltimore Sun Company (6880); The Daily Press, Inc, (9368), The Hartford Courant Company (3490); The Morning Call,
Inc. (7560); The Other Company LLC (5337); Times Mirror Land and Timber Company (7088); Times Mirror Payroll Processing Company, Inc.
(4227); Times Mirror Services Company, Inc. (1326); TMLH 2, Inc. (0720); TMLS 1, Inc. (0719), TMS Entertainment Guides, Inc. (6325),
Tower Distribution Company (9066); Towering T Music Publishing Company (2470); Tribune Broadcast Holdings, Inc. (4438); Tribune
Broadcasting Company (2569); Tribune Broadcasting Holdco, LLC (2534); Tribune Broadcasting News Network, Inc. (1088); Tribune California
Properties, Inc. (1629); Tribune Direct Marketing, Inc. (1479); Tribune Entertainment Company (6232), Tribune Entertainment Production
Company (5393); Tribune Finance, LLC (2537); Tribune Finance Service Center, Inc. (7844); Tribune License, Inc. (1035); Tribune Los
Angeles, Inc. (4522); Tribune Manhattan Newspaper Holdings, Inc. (7279); Tribune Media Net, Inc. (7847), Tribune Media Services, Inc.
(1080); Tribune Network Holdings Company (9936); Tribune New York Newspaper Holdings, LLC (7278); Tribune NM, Inc. (9939), Tribune
Publishing Company (9720); Tribune Television Company (1634); Tribune Television Holdings, Inc. (1630); Tribune Television New Orleans,
Inc. (4055); Tribune Television Northwest, Inc. (2975); ValuMail, Inc. (9512); Virginia Community Shoppers, LLC (4025); Virginia Gazette
Companies, LLC (9587), WATL, LLC (7384); WCWN LLC (5982); WDCW Broadcasting, Inc. (8300); WGN Continental Broadcasting
Company (9530); WLVI Inc. (8074); WPIX, Inc. (0191); and WTXX Inc, (1268). The Debtors’ corporate headquarters and the mailing address
for each Debtor is 435 North Michigan Avenue, Chicago, Illinois 6061).
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(collectively, the “Tribune Debtors”). Tribune is the direct or indirect parent company of the
other Tribune Debtors herein. In my capacity as Senior Vice President and Chief Financial
Officer, I am generally familiar with the Company’s day-to-day operations, business affairs, and
books and records.

2. I submit this declaration (the “Bigelow Declaration’’) in support of (a) the

Motion of Debtors and Debtors in Possession Pursuant to Section 105(a) of the Bankruptcy Code
and Fed. R. Bankr, P. 2002, 6004 and 9007 for an Order (I) Approving Form and Scope of
Notice of Proposed Business Combination Involving Cubs Business to Creditors and Parties-in-
Interest of Tribune Debtors and Cubs Entities, (II) Approving Transaction Process and Setting
Transaction Hearing and Related Deadlines, and (III) Approving Certain Investor Protections

(the “Notice and Procedures Approval Motion’), (b) the Motion for Orders Pursuant to 11 U.S.C.

§§ 105(a), 363 and 365 (I) Authorizing Tribune Debtors and CNLBC to (A) Enter Into and
Perform Obligations under Formation Agreement and Ancillary Agreements, (B) Contribute
Cubs-Related Assets, Interests in Wrigley Field, and Related Assets Free and Clear of All Liens,
Claims, Rights, Interests and Encumbrances, (C) Assume and Assign Executory Contracts, day
Authorizing Debtor Tribune Company to Enter Into Guarantees of Debt Financing; (II)
Authorizing Debtor WGN Continental Broadcasting Company to Enter Into and Perform
Obligations Under Amended and Restated Broadcast Agreements; and (IV) Granting Related

Relief (the “Tribune Transaction Approval Motion”), and (c) the Motion for an Order Pursuant

to 11 U.S.C. §§ 105(a), 363 and 365 (I) Authorizing Chicago National League Ball Club, LLC to
(A) Enter Into and Perform Obligations Under Formation Agreement and Ancillary Agreements,
(B) Effect Proposed Business Combination Involving Cubs-Related Assets, Interests in Wrigley

Field, Comcast Sports Net and Related Assets Free and Clear of All Liens, Claims, Rights,
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Interests and Encumbrances, and (C) Assume and Assign Executory Contracts; (II) Pledge
Membership Interest in Chicago Baseball Holdings, LLC; and (III) Granting Related Relief (the

“CNLBC Transaction Approval Motion’’) (collectively, the “Motions”).

3. This Declaration provides factual background and information concerning
Tribune’s decision to market the Cubs Business and ultimately to enter into the Proposed
Business Combination (as such term is defined in the Motions). I have personal knowledge of
the facts in this Declaration and, if called upon, would testify competently thereto.

4, The Notice and Procedures Approval Motion requests that the Bankruptcy
Court establish and approve a process by which notice of the Proposed Business Combination
involving the business, assets and operations of the Chicago Cubs Major League Baseball
franchise (collectively, the “Cubs Business”), together with various transactions and relief
ancillary thereto, will be given to creditors and other parties-in-interest of the Tribune Debtors,
and simultaneously, to creditors, executory contract counterparties, and other parties-in-interest
of the five “Cubs Entities”: (i) Chicago National League Ball Club, LLC (“Cubs LLC”); (11)
Tribune Sports Network Holdings, LLC; (iii) Wrigley Field Premium Ticket Services, LLC; (iv)
Diana-Quentin, LLC; and (v) Chicago Cubs Dominican Baseball Operations, LLC. The Motion
further requests that the Bankruptcy Court approve the transaction process involving the Cubs
Business and approve certain investor protections in favor of Ricketts Acquisition LLC, the
bidder for the Cubs Business (the “Bidder”). The Tribune Transaction Approval Motion and the
Cubs LLC Transaction Approval Motion then each seek approval of the Bankruptcy Court for
the Debtors and Cubs LLC to enter into and consummate their obligations under the Proposed

Business Combination.
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Tribune’s Decision to Market the Cubs Business

5. Tribune announced in April 2007, on the same day that it announced the
completion of its strategic review process and the approval of a leveraged buyout transaction,
that it intended to dispose of an interest in the Cubs Business. The process involving the Cubs
Business subsequent to that announcement that led to the Proposed Business Combination is
detailed in the Martell Declaration, which I have reviewed and with which I am familiar.
Tribune made the decision to enter into that process, and dispose of an interest in the Cubs
Business, for several reasons. It is for those same reasons that Tribune has elected to continue
that process since the original announcement.

6. First, and most significantly, disposing of the Cubs Business permits
Tribune and its affiliates to re-focus their business efforts. The core business of Tribune and its
affiliates may be briefly described as the creation and distribution of news, entertainment, and
other content through its publishing, broadcasting, and interactive businesses. Although the
Cubs Business is a very valuable asset of the Tribune group of companies, the Cubs Business is
not a core business of the Tribune group of companies.

7. Focusing on Tribune’s core media businesses is a central element of the
Company’s current business plan. As Tribune has sought to restructure its overall business, both
before and after it and certain of its affiliates commenced their chapter 11 cases, it has attempted
to re-allocate its resources to its core businesses and achieve efficiencies that go along with
operating a core of complementary businesses. Tribune has sought to effect this re-allocation by
entering into transactions respecting its non-core businesses wherever achievable on terms that
are in the best interests of the Tribune group of companies and the stakeholders therein (as

evidenced in this situation through the support of the Creditors Committee and the Steering
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Committee for the Proposed Business Combination). Entering into the Proposed Business
Combination is consistent with, and is indeed a major step forward in, re-focusing the Tribune
group of companies on its media businesses as part of Tribune’s long-term business plan.

8. The primary relationship between the Cubs Business and the rest of
Tribune’s businesses is largely related to the Cubs providing a source of radio and television
programming for WGN. The Proposed Business Combination is attractive to Tribune because,
among many other considerations, it preserves a substantial financial benefit for the Tribune
group of companies by ensuring that radio and television broadcast relationships between the
Cubs and WGN are maintained. Cubs baseball games are a critical component of WGN’s radio
and television programming, accounting for substantial portions of WGN’s listeners and
viewership.

9. Under the broadcast agreements to be entered into as part of the Proposed
Business Combination, WGN will continue to have radio and television broadcast rights for
Cubs baseball games until October 31, 2022, subject to earlier termination under limited
circumstances. These long-term media agreements ensure that essential elements of WGN's
businesses and the financial benefits attending those elements are preserved in the long-term for
the benefit of the Tribune Debtors’ estates, preserving the key benefit of the Cubs relationship for
the Tribune Debtors.

10. Entering into the Proposed Business Combination also permits the Tribune
group of companies to enhance the overall financial posture of the group because it provides the
Tribune Debtors and CNLBC with substantial financial benefits not otherwise obtainable.
Through the Proposed Business Combination, the Tribune group of companies will dispose of an

interest in the Cubs Business and receive a cash distribution of approximately $740,000,000,
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subject to certain adjustments. Professional sports franchises are businesses generally valued at
present at high multiples of revenue, and Tribune believes — with the support of its major
stakeholders — that it is an opportune time to lock in that value. In addition, with the acquisition
of a controlling interest in the Cubs Business by the Bidder, Tribune will limit its financial
obligations and responsibility for a business that is inherently capital intensive (for example, with
respect to player contracts and stadium maintenance) and can be volatile depending upon a
team’s performance.

11. In addition to the benefits to be received from monetizing an interest in the
Cubs Business, Tribune and CNLBC will also be freed going forward from the need to commit
significant new capital to the Cubs Business. In Tribune's view, maximizing the value of the
Cubs Business in the future will likely require significant expenditures of new capital even
beyond player contracts and stadium maintenance. Tribune believes that such capital can be
better deployed in Tribune’s core media businesses and in pursuing opportunities to enhance
those businesses, in which Tribune may benefit from the efficiencies relating to its core
businesses.

12. In the judgment of Tribune’s management and board of directors,
following consultation with and with the support of the principal stakeholders in Tribune’s
chapter 11 cases, the Proposed Business Combination provides the Tribune group of companies
with the ability to monetize a non-core business at an attractive value, generating cash proceeds
that can be used in connection with the Debtors’ reorganization and ongoing core businesses.
The Proposed Business Combination permits the Tribune group of companies to achieve these
benefits while preserving WGN’s broadcast relationships with the Cubs, which will be extended

for a significant period into the future. Based on these factors, Tribune’s management and board
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of directors, and the management and boards of the relevant affiliates of Tribune, believe that it
is in the best interests of Tribune and its affiliates to consummate the Proposed Business
Combination.

Decision to Pursue the Proposed Business Combination with the Bidder

13. As described in the Notice and Procedures Approval Motion and in the
Martell Declaration, when Tribune and CNLBC began their initial review of bids for the Cubs
Business following submission of those bids in mid-July 2008, several principal factors were
evaluated:
e the total value of the transaction;
e whether the bidder was interested in all or some part of the assets;

e the amount of equity to be contributed by the bidding group to the new
entity to own the Cubs franchise;

e the likelihood that Major League Baseball would grant approval for a
particular bid, based on the identity of the bidding group and the economic
terms of the bid;

e any bidder-specific issues relating to the conditionality of their proposed
transaction; and

e the willingness of the bidding group to work with the preferred transaction
structure proposed by Tribune.

None of these factors was dispositive with respect to a particular bid. Instead, the merits of each
bid were evaluated with respect to all of the above factors viewed in their totality relative to the
other bids.

14. Thereafter, when the three “Phase IJ” bids for the Cubs Business were
received in November 2008, Tribune evaluated those bids using the same criteria as employed
for the prior evaluation, while also taking into account as principal factors (i) the net upfront

after-tax cash component of the bid, (ii) the total present value of all forms of consideration for
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the proposed transaction, (iii) the terms and value of ongoing radio and television broadcast
relationships; (iv) the certainty that the transaction could be closed based on the likelihood for
each bidder securing committed financing for the transaction, (v) the likelihood of Major League
Baseball approval for the transaction, (vi) the markups of the transaction documents submitted
by the bidders, and (vii) the tax benefits, if any, to be provided to Tribune and CNLBC in the
event a particular bid was implemented. As with the prior evaluations, no single factor was
viewed as dispositive; rather, each bid was evaluated in its totality relative to the other bids.

15. Thereafter, the decision in January 2009 by the management of Tribune
and CNLBC to pursue a transaction with the Bidder was based on the entirety of the Bidder’s
proposal, and was subject to finalization of the transaction documents, but the Bidder’s proposal
was selected for further pursuit because, among other things, (i) it offered the highest amount of
cash proceeds of any of the final round of bids, (ii) the Bidder’s ability to finance the transaction,
including the equity component thereof, (iii) the Bidder’s markups of the transaction documents
suggested a high likelihood that the transaction would be able to close with a structure acceptable
to Tribune, and (iv) the likelihood of Major League Baseball approval for the proposed
transaction.

16.  Indetermining in August 2009 to enter into the Formation Agreement and
the Ancillary Agreements, Tribune and CNLBC, with input from JPMSI and other advisers,
considered several factors in evaluating the Bidder’s offer and comparing that offer to other
potential offers for the Cubs Business. These factors included, but were not limited to:

e the total value of the transaction to Tribune, as well as the amount of net after-
tax cash proceeds to be received by Tribune as a result of the transaction;

e the value of the ongoing radio and television broadcast agreements to be
provided to WGN as a result of the transaction;
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e the certainty that the proposed transaction would be consummated, including
the strength of the bidding parties’ financing arrangements and the net worth
of the bidding parties;

e the likelihood that the proposed owner or ownership group, and the proposed
transactional documents and structure, would receive approval from Major
League Baseball;

e the debt guarantees, if any, required to be provided by Tribune or its affiliates
to a bidder; and

e tax considerations relating to the proposed transaction structure.

17. Based on these principal factors, in the determination of Tribune and
CNLBC’s management and Tribune’s board of directors, the Proposed Business Combination is
the best overall transaction respecting the Cubs Business. Pursuant to the Proposed Business
Combination, Tribune and CNLBC, as applicable, will receive the highest amount of net cash
proceeds. The Bidder has obtained executed financing commitments for a proposed transaction
involving the Cubs Business. The Bidder is also the party that has made the most progress
towards obtaining approval of Major League Baseball for the proposed transaction.

18. Furthermore, the structure of the Proposed Business Combination affords
numerous tax and other financial benefits. An affiliate of the Bidder will provide $35 million in
financial support on a subordinated basis for Newco under the Operating Support Agreement,
providing assurance to Major League Baseball that the Proposed Business Combination will
maintain the financial strength of the Cubs franchise, and further providing assurance that the
Cubs Business will continue operations uninterrupted and that counterparties to contracts that are
part of the Cubs Business will have any obligations under those contracts paid in the ordinary
course. In addition, the provision of an indemnity by Bidder and certain of its affiliates in the
event certain provisions of the Proposed Business Combination are breached (as described in the

Tax Matters Agreement), which indemnity is secured up to $20 million by cash and cash
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equivalents, provides certainty for Tribune and its affiliates. Beyond these points, the Proposed
Business Combination is acceptable to Tribune and CNLBC with respect to all other criteria for
the proposed transaction.

19, Tribune and CNLBC also do not believe that there are any substantive
issues that would prevent the Bidder from receiving the necessary approvals from Major League
Baseball as an owner of the Chicago Cubs Major League Baseball franchise.

20. Accordingly, based on all of these factors, Tribune determined that it was
in the best interests of it and its affiliates to enter into the Formation Agreement and the
Ancillary Agreements and to pursue Bankruptcy Court approval and consummation of the
Proposed Business Combination with the Bidder.

21. In making its evaluation of bids for the Cubs Business at all stages through
the process, Tribune and CNLBC relied on, among other things, the views of their
representatives as developed during the bidding and negotiation process and on the information
and advice provided by their financial advisers (J.P. Morgan Securities Inc. (“JPMSI’)), legal

advisers, and others.

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I declare under penalty of perjury that the foregoing is true and correct. Executed

this 24th day of August 2009 at Chicago, Illinois.

—-
a nA
Chandler Bigelow III

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